
In re Guzman, Desiree; — Plaintiffs); applying for writ of certiorari and/or review, supervisory and/or remedial writ; to the Court of Appeal, Fourth Circuit, No. 95CA-2161; Parish of St. Bernard, 84th Judicial District Court, Div. “C”, No. 76-165.
Granted. Relator Desiree Guzman’s application is granted. Lower courts’ rulings are reversed. Relator’s motion to strike the jury is granted. Answer to discovery is not a pleading directed to a triable issue. See La.C.C.P. art. 1733(C) and Zeller v. Jording, 624 So.2d 432, 433 (LaApp. 4th Cir.1993).
